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                               TENTATIVE RULING
                     ISSUED BY JUDGE LAURA S. TAYLOR


          Debtor:       PEPPERTREE PARK VILLAGES 9 AND 10, LLC


          Number:       17-05137-LT7
          Hearing:      10:00 AM Wednesday, August 24, 2022
         Motion:  MOTION FOR ORDER CONFIRMING PROPERTY IS
   VESTED IN BANKRUPTCY ESTATE FILED ON BEHALF OF GERALD H.
   DAVIS


           GRANT. The Court grants the chapter 7 trustee's unopposed motion for
   an order confirming that the property of Debtor Peppertree Park Villages 9 and
   10, LLC, has revested in the bankruptcy estate. The motion is well supported by
   the facts and law, including In re Consol. Pioneer Mortg. Entities, 264 F.3d 803,
   807 (9th Cir. 2001) ("Despite the fact that the Joint Plan in this case did not
   specifically provide that remaining assets would revest in the estate in the event
   of conversion, it (1) contains explicit provisions regarding the distribution of
   liquidation proceeds to the investors, the plan's primary beneficiaries; and (2)
   gives the bankruptcy court broad powers to oversee implementation of the
   plan.").
           The intention of the Court in confirming the plan and converting the case
   and the understanding of the parties in conversion was that PPV's property would
   revest in the estate in order to sell the property for the benefit of the creditors.
   Although the confirmed plan does not specifically revest property in the estate, in
   the case of default under the plan, it provides for potential conversion of the case
   "or other appropriate relief as the Bankruptcy Court may determine as
   appropriate." Dkt. No. 650 (Confirmed Plan, Article XIII, §13.4). In the case of
   default due to failure of the sale of Units 9 and 10 to occur by a certain date, the
   plan provides for the sale of the "assets of such Debtors' estates and distribut[ion
   of] the proceeds in accordance with the Bankruptcy Code." Id. That provision
   implies that the plan intended to revest Debtor's property in the estate in the case
   of the failure to sell Units 9 and 10 by the plan deadline and a related decision to
   convert the case to chapter 7. Debtor did not meet that plan deadline. The plan
   further provides the Court broad jurisdiction over the plan, including to remedy an
   omission in the plan in order to carry out its intent and purposes; to determine
   ownership of the assets of Debtors, Reorganized Debtors or the Estates; and to
   remedy any breach or default under the plan. Dkt. No. 650 (Confirmed Plan,
   Article XII).
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         Appearances at the August 24, 2022, hearing in connection with this
   motion are excused, and the trustee may upload an order.
